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1      CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
2      Russell Handy, Esq., SBN 195058
       Amanda Seabock, Esq., SBN 289900
3      Zachary Best, Esq., SBN 166035
       Mail: 8033 Linda Vista Road, Suite 200
4      San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
5      amandas@potterhandy.com
6      Attorneys for Plaintiff
7
8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11     Andres Gomez,                            Case No.

12               Plaintiff,
                                                Complaint for Damages and
13       v.                                     Injunctive Relief for Violations
                                                of: American’s With Disabilities
14     DTG Operations, Inc., an                 Act; Unruh Civil Rights Act
       Oklahoma Corporation;                    NOT RELATING TO A
15
       The Hertz Corporation, a                 CONSTRUCTION-RELATED
16     Delaware Corporation;                    BARRIER AS DEFINED IN CAL.
                                                CIV. CODE § 55.3
17               Defendants.
18
19         Plaintiff Andres Gomez (“Plaintiff”) complains of DTG Operations,
20   Inc., an Oklahoma Corporation; The Hertz Corporation, a Delaware
21   Corporation; (“Defendants”), and alleges as follows:
22
23     PARTIES:
24     1. Plaintiff is a visually-impaired individual and a member of a protected
25   class of persons under the Americans with Disabilities Act. Plaintiff uses JAWS
26   to access the internet and consume website content using his computer, as well
27   as Talkback or similar software to navigate websites and applications on
28


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1    mobile devices. Plaintiff is legally blind 1 and cannot use a computer without
2    assistance of screen-reader software (“SRS”)
3        2. Defendant DTG Operations, Inc., owned or operated Thrifty Car
4    Rentals (“Car Rental”) located throughout California, including in San
5    Francisco County, California, in March 2021.
6        3. Defendant DTG Operations, Inc., owns or operates Car Rental located
7    throughout California, including in San Francisco County, California,
8    currently.
9        4. Defendant The Hertz Corporation, owned or operated Car Rental
10   website, with a root domain of: https://www.thrifty.com/loc/ll/us/ca/san-
11   francisco-downtown/364-o-farrell-street/, and all related domains, sub-
12   domains and/or content contained within it, (“Website”) in March 2021.
13       5. Defendant The Hertz Corporation, owns or operates the Car Rental’s
14   Website currently.
15       6. Plaintiff does not know the true names of Defendants, their business
16   capacities, their ownership connection to the property and business, or their
17   relative responsibilities in causing the access violations herein complained of,
18   and alleges a joint venture and common enterprise by all such Defendants.
19   Plaintiff is informed and believes that each of the Defendants herein, is
20   responsible in some capacity for the events herein alleged or is a necessary
21   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants
23   are ascertained.
24
25
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27   refer to individuals, including himself, who meet the legal definition of
28   blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
     these criteria have no vision, others have limited vision.

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1      JURISDICTION & VENUE:
2      7. The Court has subject matter jurisdiction over the action pursuant to 28
3    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
4    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
5      8. This court has supplemental jurisdiction over Plaintiff’s non-federal
6    claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
7    formed from the same case and/or controversy and are related to Plaintiff’s
8    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
9      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
10   is subject to personal jurisdiction in this District due to its business contacts
11   with the District, and a substantial portion of the complained of conduct
12   occurred in this District.
13
14     FACTUAL ALLEGATIONS:
15     10. Plaintiff is a legally blind person and a member of a protected class
16   under the ADA. Plaintiff is proficient with and uses SRS to access the internet
17   and read internet content on computers and mobile devices.
18     11. Plaintiff cannot use a computer without the assistance of screen reader
19   software. (“SRS”).
20     12. Car Rental operates privileges, goods or services out of a physical
21   location in California. These services are open to the public, places of public
22   accommodation, and business establishments.
23     13. The Website is a nexus between Car Rental’s customers and the
24   terrestrial based privileges, goods or services offered by Car Rental.
25     14. The Car Rental offers websites and digital booking as some of the
26   facilities, privileges, and advantages offered by Defendants to patrons of the
27   Car Rental in connection with their patronage at the Car Rental.
28     15. Among the services offered include: details about vehicles and the Car


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1    Rental itself, location and contact information, Car Rental policies,
2    information about rates and availability and offers the ability to quickly book
3    a vehicle without any ambiguity as to the amenities that would be available to
4    the patron.
5      16. Plaintiff was a prospective customer who wished to access Defendant’s
6    goods and services of the Car Rental.
7      17. Plaintiff visited the Website in March 2021 with the intent to rent a
8    vehicle.
9      18. When Plaintiff attempted to navigate the Website, Plaintiff encountered
10   numerous accessibility design faults that prevented him from navigating the
11   site successfully using SRS. Investigation into his experience revealed barriers,
12   including, but not limited to:
13                   a. Images on the website lack a text equivalent readable by
14                       SRS.
15                   b. The website contains script elements that are not
16                       identified with functional text readable by SRS.
17                   c. The website contains form elements that are not identified
18                       with functional text readable by SRS.
19                   d. The visualization of the webpage contains impermissibly
20                       low contrast enabling differentiation of background and
21                       foreground elements.
22     19. These inaccessible elements rendered the ostensibly “accessible”
23   elements inaccessible as a result of difficulty and confusion navigating the
24   numerous inaccessible elements.
25     20. Currently, the defendants either fail to provide an accessible website or
26   Defendants have failed to maintain in working and useable conditions those
27   website features required to provide ready access to persons with disabilities.
28     21. Despite multiple attempts to access the Website using Plaintiff’s


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1    computer and mobile device, Plaintiff has been denied the full use and
2    enjoyment of the facilities, goods and services offered by Defendants as a
3    result of the accessibility barriers on the Website.
4      22. Plaintiff personally encountered accessibility barriers and has actual
5    knowledge of them.
6      23. By failing to provide an accessible website, the defendants denied
7    Plaintiff full and equal access to the facilities privileges or advantages offered
8    to their customers.
9      24. Plaintiff has been deterred from returning to the Website as a result of
10   these prior experiences.
11     25. The failure to provide accessible facilities created difficulty and
12   discomfort for the Plaintiff.
13     26. If the website had been constructed equally accessible to all individuals,
14   Plaintiff would have been able to navigate the Website and rent a vehicle.
15     27. Additionally, Plaintiff is a tester in this litigation and seeks future
16   compliance with all federal and state laws. Plaintiff will return to the Website
17   to avail himself of its goods and/or services and to determine compliance with
18   the disability access laws once it is represented to him that the Car Rental and
19   Website are accessible.
20     28. Plaintiff is currently deterred from doing so because of Plaintiff’s
21   knowledge of the existing barriers and uncertainty about the existence of yet
22   other barriers on the Website. If the barriers are not removed, Plaintiff will
23   face unlawful and discriminatory barriers again.
24     29. The barriers identified above violate easily accessible, well-established
25   industry standard guidelines for making websites accessible to people with
26   visual-impairments that use SRS to access websites. Given the prevalence of
27   websites that have implemented these standards and created accessible
28   websites, it is readily achievable to construct an accessible website without


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1    undue burden on the Car Rental or a fundamental alteration of the purpose of
2    the Website.
3      30. Compliance with W3C Web Content Accessibility Guidelines
4    (“WCAG”) 2.0 AA standards is a viable remedy for these deficiencies and a
5    standard that has been adopted by California courts for website accessibility.
6      31. It’s been established that failure to remove these inaccessible conditions
7    violates the ADA and California law and requiring compliance with industry
8    access standards is a remedy available to the plaintiff.
9      32. The Website was intentionally designed, and based on information and
10   belief, it is the Defendants’, policy and practice to deny Plaintiff access to the
11   Website, and as a result, denies the goods and services that are otherwise
12   available to patrons of the Car Rental.
13     33. Due to the failure to construct and operate the website in line with
14   industry standards, Plaintiff has been denied equal access to Defendant’s Car
15   Rental and the various goods, services, privileges, opportunities and benefits
16   offered to the public by the Car Rental.
17     34. Given the nature of the barriers and violations alleged herein, the
18   plaintiff alleges, on information and belief, that there are other violations and
19   barriers on the website, and/or at the Car Rental, that relate to his disability. In
20   addition to the barriers he personally encountered, Plaintiff intends to seek
21   removal of all barriers on the Website that relate to his disability. See Doran v.
22   7-Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that once a plaintiff
23   encounters one barrier, they can sue to have all barriers that relate to their
24   disability removed regardless of whether they personally encountered the
25   barrier).
26     35. Plaintiff will amend the complaint, to provide further notice regarding
27   the scope of the additional demanded remediation in the event additional
28   barriers are uncovered through discovery. However, please be on notice that


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1    the plaintiff seeks to have all barriers related to his disability remedied.
2
3    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
4    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
5    Defendants.) (42 U.S.C. section 12101, et seq.)
6      36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
7    again herein, the allegations contained in all prior paragraphs of this
8    complaint. The Car Rental is a public accommodation with the definition of
9    Title III of the ADA, 42 USC § 12181.
10     37. The website provided by the Defendant is a service, privilege or
11   advantage and extension of Car Rental physical presence and terrestrial
12   services.
13     38. When a business provides services such as a website, it must provide an
14   accessible website.
15     39. Here, an accessible website has not been provided. A failure to provide
16   an accessible website is unlawful discrimination against persons with
17   disabilities.
18     40. Under the ADA, it is an act of discrimination to fail to ensure that the
19   privileges, advantages, accommodations, facilities, goods and services of any
20   place of public accommodation is offered on a full and equal basis by anyone
21   who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
22   § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
23   reasonable modifications in policies, practices, or procedures, when such
24   modifications are necessary to afford goods, services, facilities, privileges,
25   advantages, or accommodations to individuals with disabilities, unless the
26   accommodation would work a fundamental alteration of those services and
27   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
28     41. Here, the failure to ensure that the accessible facilities were available


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1    and ready to be used by the plaintiff is a violation of the law.
2      42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
3    set forth and incorporated therein, Plaintiff requests relief as set forth below.
4
5    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
6    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
7    Code § 51-53.)
8      43. Plaintiff repleads and incorporates by reference, as if fully set forth
9    again herein, the allegations contained in all prior paragraphs of this
10   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
11   that persons with disabilities are entitled to full and equal accommodations,
12   advantages, facilities, privileges, or services in all business establishment of
13   every kind whatsoever within the jurisdiction of the State of California. Cal.
14   Civ. Code §51(b).
15     44. The Unruh Act provides that a violation of the ADA is a violation of the
16   Unruh Act. Cal. Civ. Code § 51(f).
17     45. Defendants’ acts and omissions, as herein alleged, have violated the
18   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
19   rights to full and equal use of the accommodations, advantages, facilities,
20   privileges, or services offered.
21     46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
22   discomfort or embarrassment for the plaintiff, the defendants are also each
23   responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
24   55.56(a)-(c).
25     47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
26   set forth and incorporated therein, Plaintiff requests relief as set forth below.
27
28


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1             PRAYER:
2             Wherefore, Plaintiff prays that this Court award damages and provide
3    relief as follows:
4          1. A Declaratory Judgment that at the commencement of this action
5    Defendants were in violation of the requirements of the ADA due to
6    Defendants’ failures to take action to ensure that its Website was fully
7    accessible to and independently usable by blind and visually-impaired
8    individuals.
9          2. For equitable nominal damages for violation of civil rights. See
10   Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
11   relief the Court finds appropriate.
12         3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
13   enjoining Defendants from violating the ADA with respect to its Website.
14         4. Damages under the Unruh Civil Rights Act § 51 2, which provides for
15   actual damages and a statutory minimum of $4,000 for each offense.
16         5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
17   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
18
19   Dated: July 22, 2020                CENTER FOR DISABILITY ACCESS
20
21
22                                       By: ______________________________
23                                       Russell Handy, Esq.
                                         Attorney for Plaintiff
24
25
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27   2
         Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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